Case 1:23-mj-00230-RSK ECF No. 24-2, PageID.470 Filed 04/22/24 Page 1 of 3




                           EXHIBIT B




                                                                    Exhibit B
               Case 1:23-mj-00230-RSK
4/18/24, 12:45 PM                                         ECFFundraiser
                                                               No. 24-2,by US PageID.471
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                                                                                                            Blair Howard Page 2 of 3


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            Andrew Blair Howard
                     US Citizens for Justice is organizing this fundraiser.



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             A classic tale of Federal Government overreach and intimidation. The Platte River has been
             a treasure for outdoor recreation in northern Michigan for generations. The National Park
             Service has targeted a 63 year old man, Andrew Blair Howard, for diverting the flow of the
             Platte River with a hand shovel despite no evidence of him being present at the time of the
             diversion. Park Rangers possess reports from 4 independent witnesses, with photos and
             videos, stating they witnessed other individuals dig the trench through the sandbar causing
             the river diversion, prior to Howards arrival. Additionally, the Michigan Department of
             Natural Resources and Lake Township have advocated for keeping the Platte River mouth
             open at the currently diverted location. Citizens familiar with the Platte River history even
             question why the National Park Service has brought such a major legal case regarding the
             river diversion because it occurred in the same location of being annually dredged with an
             excavator for over 40 years. Howard is now facing potentially hundreds of thousands in
             fines, restitution, and legal fees, along with jail time, and is asking supporters to contribute
             to his ongoing legal battle with the National Park Service.




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